Case No. 1:06-cv-01726-LTB-CBS Document 49-1 filed 03/12/07 USDC Colorado pg 1 of
                                      5
Case No. 1:06-cv-01726-LTB-CBS Document 49-1 filed 03/12/07 USDC Colorado pg 2 of
                                      5
Case No. 1:06-cv-01726-LTB-CBS Document 49-1 filed 03/12/07 USDC Colorado pg 3 of
                                      5
Case No. 1:06-cv-01726-LTB-CBS Document 49-1 filed 03/12/07 USDC Colorado pg 4 of
                                      5
Case No. 1:06-cv-01726-LTB-CBS Document 49-1 filed 03/12/07 USDC Colorado pg 5 of
                                      5
